Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 1 of 7
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                               September 02, 2022
                                                                Nathan Ochsner, Clerk
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 2 of 7
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 3 of 7
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 4 of 7
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 5 of 7
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 6 of 7
Case 4:19-cr-00633 Document 250 Filed on 08/29/22 in TXSD Page 7 of 7
